             Exhibit C




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Ms. Dunbar,

This letter shall serve as official notice of charges regarding your removal from the Executive Board of
the Cabarrus County Republican Party (CabGOP) pursuant to procedures set forth in Article IX(6)(a) of
the North Carolina Republican Party Plan of Organization (the “Plan of Organization”).

Article IX(6)(a) of the Plan of Organization provides that a member of a County Executive Committee
may be removed by a two-third vote of the Executive Committee after being furnished with notice of the
charges against him/her, signed by at least one-third of the Executive Committee members. The charges
shall be confined to gross inefficiency, party disloyalty, and/or failure to comply with the County, District,
or State Party Plans of Organization.

Per guidelines from the Chief Council of the North Carolina Republican Party: “Gross inefficiency is
characterized by habitual neglect of power and duties in a position… A member of the County Executive
Committee acting outside the will of the Committee could be viewed as neglect of that member’s powers
and duties.”

The charges against you are as follows:

(i) Gross inefficiency. The Cabarrus County Republican Women’s Club, which you chair, is presenting a
Board of Education (BoE) candidates forum for all Republican Candidates for the BoE. Despite the fact
that the Executive Committee of the Cabarrus County Republican Party, which you sit on, has already
voted to endorse three out of the seven candidates for this office. You are allowing candidates, despite
endorsement status, to participate on stage and purchase tables to display their materials at this event,
thereby promoting them. As the EC has already endorsed candidates, this shows your clear willingness to
act against this expressed will of this committee.

(ii) Gross inefficiency. Per the committee's decision at its April EC meeting, it was decided that the
Young Republicans Club in partnership with this EC would host the committee's BoE forum, when the
endorsement timeline presented by Vice Chairman Lambert was approved. Whereas it was the clear
understanding of the committee that the Men’s and Women’s Clubs would host a County Commission
forum and the CabGOP would host State House forums for the 73 and 83rd districts, all of which
occurred to that understanding. Your decision to plan, host, and promote another school board candidates
forum shows you in direct conflict with approved plans and wishes of the board.

(iii) Gross inefficiency. Following the local publication of an article regarding an incident that occurred
at the committee's June 6th board meeting, you took it upon yourself to use your official capacity as a
member of this committee to make a public comment on the incident in a light that was negative of the




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Executive Committee. Your comments on the media outlet’s post show a clear neglect of your powers
and duties as a member of the committee.

(IV) Gross inefficiency. You have conveyed to several of your fellow board members, including
Chairman Ali, that you are “not on the same team as the Executive Committee.” These occurrences date
as far back as the November 2021 election and have persisted since that time. These statements show a
clear disregard for the will of the Executive Committee and the Party.

In sum, your actions represent a habitual neglect of your power and duties as a member of the Executive
Committee. You have actively worked contrary to the efforts of the Executive Committee and its policies
– in fact, you have openly stated your desire to work against the Committee. This will not be tolerated.

This committee plans to move for a vote of your removal at its next scheduled meeting on August 2, 2022
at 6:30PM held at 96 McGill Ave NW, Concord. In accordance with the above-mentioned section of the
North Carolina Republican Party Plan of Organization, you are allowed to present a defense to this
committee prior to any vote on your removal.

Respectfully,
Clay Mcguire - Secretary


This notice has been signed by the following members of the committee:
Addul Ali - Chairman
Jack Lambert - Vice Chairman
Clay Maguire - Secretary
Benita Conrad - Treasurer
Scott Elliot - Immediate past Chairman
Parish Moffitt - Finance Chairman
Kevin Crutchfield
Darrin Gamradt
Anita Brown
Mary Ingram
Betty Lapish
Britt McIntyre
Jacob Abel
Robert Freeman, Jr




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